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                               UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

UNITED STATES OF AMERICA,
                                                        CRIMINAL CASE NO. 95-50061
                               Plaintiff,
                                                        HONORABLE PAUL V. GADOLA
                                                        U.S. DISTRICT JUDGE
v.

DION ERIC SAVAGE,

                               Defendant,

_____________________________________/

                             ORDER DISMISSING ALL MOTIONS

       Before the Court are a plethora of motions filed by the Defendant ranging in time from

August 23, 2004 through November 28, 2005. For the following reasons, the court will deny

Defendant’s motions.

       Defendant was convicted on October 21, 1997. Since that time, he has filed no fewer

than 57 motions with the Court. The Court has judiciously disposed of 35, leaving 22 motions

still pending, many of which are virtually identical.

       Defendant is proceeding pro se. A court must grant pro se litigants leniency, and should

dispose of matters before it accordingly. See, generally, Estelle v. Gamble, 429 U.S. 97, 106

(1976). “The goal of fairly dispensing justice, however, is compromised when the Court is

forced to devote its limited resources to the processing of repetitious and frivolous requests.” In

re Michael Sindram, 498 U.S. 177, 179 (1991). Likewise, “[p]ro se petitioners have a greater

capacity than most to disrupt the fair allocation of judicial resources . . . .” Id. Defendant’s

frivolous, vexatious and multipicitous filings are a waste of this Court’s resources and an abuse

of the judicial process.
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         ACCORDINGLY, IT IS ORDERED that all of Defendant’s pending motions [docket

entries 671, 676, 680, 682, 683, 684, 689, 690, 691, 692, 697, 700, 703, 705, 707, 710, 712, 714,

716, 717, 718, and 721] are DENIED.

         IT IS FURTHER ORDERED that Defendant shall be enjoined from filing any further

documents without first seeking leave of Court.



Dated:     February 6, 2006                          s/Paul V. Gadola
                                                     HONORABLE PAUL V. GADOLA
                                                     UNITED STATES DISTRICT JUDGE




                                CERTIFICATE OF SERVICE

I hereby certify that on February 7, 2006 , I electronically filed the foregoing paper with the
Clerk of the Court using the ECF system which will send notification of such filing to the
following:                                  Mark C. Jones                           , and I hereby
certify that I have mailed by United States Postal Service the paper to the following non-ECF
participants:
                                 T.N. Ziedas; Dion Savage          .

                                                     s/Ruth A. Brissaud
                                                     Ruth A. Brissaud, Case Manager
                                                     (810) 341-7845
